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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 In Re:                                           Case No. 15-34864
 Chandra Medlin
  fka Chandra Taylor
  fka Chandra Horton
                                                  Chapter 13
  fka Chandra V. Medlin
  aka C Victoria Medlin
  aka Chandra Victoria Medlin
 Debtor.                                          Hon. Judge A. Benjamin Goldgar

                                 CERTIFICATE OF SERVICE

The undersigned, an attorney, hereby certifies that I have served a copy of this Notice of Mortgage
Payment Change upon the above-named parties by electronic filing or, as noted below, by
placing same in a properly addressed and sealed envelope, postage prepaid, and depositing it in the
United States Mail at 394 Wards Corner Rd., Suite 180, Loveland, OH 45140 on December
4, 2019, before the hour of 5:00 p.m.

          Joseph S Davidson, Debtor’s Counsel
          jdavidson@sulaimanlaw.com

          Glenn B Stearns, Chapter 13 Trustee
          mcguckin_m@lisle13.com

          Patrick S Layng, U.S. Trustee
          ustpregion11.es.ecf@usdoj.gov

          Chandra Medlin, Debtor
          4460 Longmeadow Drive
          Gurnee, IL 60031

 Dated: December 4, 2019                          Respectfully Submitted,

                                                  /s/ Jon J. Lieberman
                                                  Jon J. Lieberman (OH 0058394)
                                                  Sottile & Barile, Attorneys at Law
                                                  394 Wards Corner Road, Suite 180
                                                  Loveland, OH 45140
                                                  Phone: 513.444.4100
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                                                  Attorney for Creditor
